Case 16-11046-mdc        Doc 62 Filed 04/24/20 Entered 04/24/20 14:13:58                  Desc Main
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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 In re: Joseph Berti,                                 CHAPTER 13
         Debtor.
                                           BANKRUPTCY CASE NUMBER
 Nationstar Mortgage LLC,                  16-11046/MDC
       Movant,
 v.
 Joseph Berti,
       Debtor,
 and
 William C. Miller, Trustee,
       Additional Respondent.
                             CERTIFICATION OF DEFAULT

       Kristen D. Little, Esquire, Attorney for Movant, certifies that Debtor has defaulted upon

the terms of this Court's Stipulation and Order dated April 12, 2019. It is further certified that

the attached notice, marked as Exhibit "A," was served upon the Debtor and Debtor's Attorney

on April 6, 2020. The Debtor has failed to cure the default as set forth in the Notice. The Debtor

has failed to make the following payments:

Regular payments of $942.75 from March 1, 2020 through April 1, 2020                  $1,885.50;
Attorney Fees associated with this default                                              $300.00
Less Debtor’s Suspense                                                                 $(124.98)
TOTAL DEFAULT                                                                         $2,060.52

       Accordingly, pursuant to the Stipulation and Order, Movant respectfully requests this

Court to enter the attached Order granting Movant relief from the automatic stay.

                                                      Respectfully submitted,


                                                              /s/ Kristen D. Little
Dated: April 24, 2020                                 BY:
                                                      Kristen D. Little, Esquire
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